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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 CITIZENS FOR RESPONSIBILITY AND
 ETHICS IN WASHINGTON, et al.,

                       Plaintiffs,                  Civil Action No. 16-259 (BAH)

                       v.                           Chief Judge Beryl A. Howell

 FEDERAL ELECTION COMMISSION,

                       Defendant,

 and

 CROSSROADS GRASSROOTS POLICY
 STRATEGIES,

                       Defendant–Intervenor


                                            ORDER

       Upon consideration of the plaintiffs’ Motion for Summary Judgment, ECF No. 27; the

defendant Federal Election Commission’s Cross-Motion for Summary Judgment, ECF No. 30;

and the defendant-intervenor Crossroads GPS’s Cross-Motion for Summary Judgment, ECF No.

28; the memoranda submitted in support and opposition; the certified administrative record and

portions thereof submitted in the Joint Appendix, ECF Nos. 25, 26, 38; and the entire record

herein, for the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that the plaintiffs’ Motion is GRANTED; and it is further

       ORDERED that the defendant Federal Election Commission’s dismissal of the plaintiffs’

amended administrative complaint, dated April 24, 2013, is declared contrary to law and is

hereby VACATED; and it is further




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          ORDERED that the Federal Election Commission is directed to reconsider the plaintiffs’

amended administrative complaint, dated April 24, 2013, in conformity with this Memorandum

Opinion, within 30 days, pursuant to 52 U.S.C. § 30109(a)(8)(C); and it is further

          ORDERED that 11 C.F.R. § 109.10(e)(1)(vi), promulgated by the Federal Election

Commission, is declared to be invalid and otherwise not in accordance with law, and is

VACATED, which vacatur is STAYED for 45 days from the date of this ORDER; and it is

further

          ORDERED that the Cross-Motions of the defendant Federal Election Commission and

defendant-intervenor Crossroads GPS are DENIED.



          SO ORDERED.

          Date: August 3, 2018

          This is a final and appealable order.


                                                      _____________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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